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                    EXHIBIT O
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                       THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF GEORGIA




IN RE HD SUPPLY HOLDINGS, INC.                      CONSOLIDATED CASE
SECURITIES LITIGATION                               NO. 1:17-CV-02587-ELR




                EXPERT REPORT OF DAVID I. TABAK, PH.D.



       I.      SCOPE OF ANALYSIS AND SUMMARY OF FINDINGS
      1. This report concerns a securities action in which Lead Plaintiffs “seek to certify a
class pursuant to Rules 23(a) and 23(b)(3), consisting of all persons who purchased or
otherwise acquired publicly-traded HD Supply common stock during the Class Period,
and who were damaged thereby (the ‘Class’).”1 Per the Consolidated Amended Class
Action Complaint (“Complaint”), the Class Period is defined as “November 9, 2016
[through] June 5, 2017, inclusive[.]”2      In support of Plaintiffs’ Memorandum, Lead
Plaintiffs have submitted an expert report by Michael L. Hartzmark (the “Hartzmark
Report”). On May 2, 2019, Dr. Hartzmark gave a deposition (the “Hartzmark Depo.”) in
this matter.

      2. Counsel for Defendants in this matter has asked me to examine whether the
alleged misrepresentations caused “price impact” over the entire Class Period, or,
assuming that Plaintiffs prevail on liability, whether there is only price impact over some


1
  Lead Plaintiffs’ Memorandum of Law in Support of Their Motion for Class
Certification, p. 2. (“Plaintiffs’ Memorandum”)
2
    Complaint, ¶2.




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portion of the Class Period. As discussed below, to the extent that there is price impact, I
find that such price impact would have ended with the March 14, 2017 alleged corrective
disclosure and that, therefore, there is no price impact from the alleged
misrepresentations from March 14, 2017 through the end of the proposed class period.
Thus, the class period should be limited to November 9, 2016 through March 13, 2017,
inclusive.



    II.      QUALIFICATIONS AND REMUNERATION
    3. I received Bachelor’s degrees in Physics and in Economics from the
Massachusetts Institute of Technology and a Master’s degree and a Ph.D. in Economics
from Harvard University. I have appeared as an expert in federal district courts; state
trial courts; bankruptcy court; and in arbitration forums, including the National
Association of Securities Dealers, the International Chamber of Commerce International
Court of Arbitration, and the American Arbitration Association. I have published in my
fields of expertise on subjects such as market efficiency, loss causation, statistics, and the
analysis of stock price movements.

    4. National Economic Research Associates (“NERA”) was established in 1961 and
now employs approximately 500 people in over twenty offices worldwide.                NERA
provides consulting for economic matters to parties for their internal use, to parties in
litigation, and to governmental and regulatory authorities. I have worked at NERA for
over twenty years and am a managing director in NERA’s securities and finance practice.
My work entails providing analyses for parties in litigation and consulting for parties in
non-litigation settings. I have served as a speaker at events providing CLE credits for
attorneys and at academic conferences on areas related to securities litigation. I have
provided reports and/or testimony for plaintiffs and defendants in numerous securities
class actions.

    5. My curriculum vitae, which sets forth in further detail my publications and prior
testimony experience, is attached to this report as Exhibit 1.



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      6. NERA is being compensated on a non-contingent basis for out-of-pocket costs
and at our usual rates for time. My billing rate is $950 per hour. I have been assisted by
a number of individuals at NERA working at my direction who are billing at their
standard rates, which are all less than $950 per hour.



      III.    MATERIALS CONSIDERED
      7. Materials considered for the purposes of this report are listed in Exhibit 2.



      IV.     THE HARTZMARK REPORT PROVIDES AN UNRELIABLE                                AND
              MISLEADING OPINION REGARDING PRICE IMPACT
      8. In Halliburton Co. v. Erica P. John Fund, Inc., 134 S. Ct. 2398, 2405 (2014)
(“Halliburton II”), the Supreme Court held that “a defendant could rebut [the]
presumption [of reliance] in a number of ways, including by showing that the alleged
misrepresentation did not actually affect the stock’s price—that is, that the
misrepresentation had no ‘price impact.’” In other words, if there was no impact on the
stock price from the alleged misrepresentations when an investor purchased shares, he or
she could not have relied on and been misled by the alleged misrepresentations.

      9. In ¶22, the Hartzmark Report cites Halliburton II on price impact and in the next
paragraph states that “there is no evidence of a lack of price impact when one examines
the reaction of HD Supply’s common stock price to the alleged corrective disclosures.”3
The Hartzmark Report later reaffirms this assertion, stating that the “empirical results
from the event study for the alleged corrective disclosure and misrepresentation dates
demonstrate there is no evidence of a lack of price impact when one examines … the
alleged corrective information disclosed on March 14, 2017 and June 6, 2017.”4

3
    Hartzmark Report, ¶23. (Emphasis removed.)
4
    Hartzmark Report, ¶103.




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    10. Despite making a claim of “no evidence of a lack of price impact” from “the
alleged corrective disclosures” and from “the alleged corrective information[,]” the
Hartzmark Report never actually examines the corrective portion of the disclosures on
the dates it references.    Instead, the Hartzmark Report merely finds that there is
purportedly no evidence of a lack of price impact from all of the information disclosed,
whether corrective or not, on the dates of the alleged corrective disclosures.5

    11. There are at least two reasons why this is a crucial distinction. First, whether the
allegedly corrective information or other information unrelated to the allegations caused
any price impact matters when considering whether investors could have relied on the
alleged misrepresentations. While the Hartzmark Report states that there is no evidence
of a lack of price impact from “the alleged corrective information[,]” because that report
has failed to distinguish between the corrective information and other information, at
best, Dr. Hartzmark could say that he has found no evidence as to which information (i.e.,
corrective information or non-corrective information) caused the price impact that he
measures in his report. This is equivalent to a prosecutor finding that someone has been
murdered, not looking into any of the evidence as to who committed the murder, and then
proclaiming that “there is no evidence” that a particular suspect was not the murderer.
While there has been some event (a price effect or a murder), the statement that “there is
no evidence” that supports a claim that the accused (an alleged corrective disclosure or a
murder suspect) was not guilty of causing that event is arbitrary, speculative, and
misleading if one has not done anything more than noted that an event has occurred. A
failure to examine evidence is not the same as a lack of evidence. As discussed below,
the actual evidence demonstrates that there was no price impact related to the alleged

5
  For example, in ¶87, the Hartzmark Report notes that it is analyzing “the price impact
on March 14, 2017 from the disclosure on March 14, 2017” and does the same for June 6,
2017 in ¶92, but then, with no analysis of whether any of the news disclosed on those
dates was corrective or not, jumps to a conclusion that it has “examine[d] the price
reaction of HD Supply common stock to … the alleged corrective information disclosed
on March 14, 2017 and June 6, 2017” in ¶103. The Hartzmark Report’s conflation of all
news and corrective information is further discussed in this report.



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corrective information in the June 6, 2017 disclosure, and thus any price impact ended on
March 13, 2017.

    12. Second, Dr. Hartzmark is currently involved in another case (In re Finisar
Corporation Securities Litigation) in which he has testified that the analysis that he has
performed in that matter is not sufficient to reach a conclusion regarding the price impact
of the alleged corrective disclosures because he did not distinguish between information
related to the allegations and other non-allegation-related information. In the instant
matter (i.e., HD Supply), Dr. Hartzmark has performed event studies examining the price
response of HD Supply’s stock to all the information disclosed on each of the alleged
misrepresentation and disclosure dates. This is similar to the Finisar matter, in which Dr.
Hartzmark opined that a similar analysis by another expert (i.e., one that looked at the
total price impact of all news on a day without distinguishing between allegation-related
and non-allegation-related news) could not support an opinion regarding the absence of
price impact. In particular, Dr. Hartzmark is opining in Finisar that another expert’s
“empirical results alone cannot be used as evidence of a lack of price impact. The
empirical results, if correct, only offer the first step in a series of analyses that would be
used by an economic expert to support an affirmative opinion as to whether or not there is
an absence of price impact.”6 Despite correctly noting in Finisar that the event-study
analysis “cannot be used as evidence of a lack of price impact[,]” in this matter, as noted
above, Dr. Hartzmark relies on the event study’s empirical results alone, without
distinguishing between allegation-related and non-allegation-related news, as “evidence
of a lack of price impact[,]” or, in this case, as claim that there is no such evidence.7


6
  Rebuttal Report of Michael L. Hartzmark in In re Finisar Corporation Securities
Litigation (“Hartzmark Finisar Rebuttal”), ¶3d. (Emphases in original.)
7
  See Hartzmark Depo., 86:18-88:6 (discussed in ¶14 of this report) on how Dr.
Hartzmark did not attempt to distinguish between allegation-related and non-allegation
related news on June 6, 2017.
See also ¶¶6-9 of the Hartzmark Finisar Rebuttal, in which Dr. Hartzmark opines that the
opposing expert “mischaracterizes [Dr. Hartzmark’s] opinion suggesting [that Dr.
(continued)



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      13. Dr. Hartzmark continues in his report in Finisar to note that there are
“commonly-used and generally-accepted economic analyses to examine price impact.
These analyses would incorporate the evaluation of news, analyst reports and [company]
corporate filings, among other materials to affirmatively demonstrate whether … [there]
is or is not evidence of a lack of price impact.”8 In Section V of this report, I will employ
these commonly used and generally accepted economic analyses to demonstrate that not
only is there evidence of a lack of price impact from the June 6, 2017 alleged corrective


Hartzmark] concluded there is evidence of price impact” because the opposing expert
allegedly failed to properly consider that Dr. Hartzmark “clearly stated that [he] was
addressing the price movements associated with multiple disclosures” and did not engage
in the “exercise of disaggregating the daily close-to-close price movements[.]” In the
Hartzmark Report in the HD Supply case, Dr. Hartzmark fails to disaggregate the price
movements but, contrary to what he claims is proper in Finisar, does provide an opinion
regarding whether there is evidence of price impact. See also ¶11 of the Hartzmark
Finisar Report. (“Even more critical, an affirmative economic price impact analysis
requires more than just a statistical analysis of price movements. To conduct a proper
affirmative price impact analysis, an economic expert first assumes that the allegations
are true – namely that the misstatements represent new information – and then using
statistical analysis, in combination with the analysis of news reports, analyst evaluations
and firm-specific financial information, among other sources, attempts to decipher and
isolate the impact of the misstatements from the other disclosures that are
contemporaneously revealed. For example, even when a price movement is found to be
statistically insignificant, the economist must evaluate whether or not there was offsetting
news disclosed (unrelated to the misstatements) that might have suppressed the price
movement.” (Emphases in original.))
See also Plaintiffs’ Opposition to Defendants’ Administrative Motion for Leave to File
Sur-Reply in Finisar, p. 4. (“Defendants mistake Dr. Hartzmark’s opinion that ‘there is
no evidence of a lack of price impact’ based on the empirical results for the March 8,
2011 disclosure as an affirmative opinion based on a complete ‘price impact’ analysis.”)
Here, I seek to avoid making the “mistake” of treating Dr. Hartzmark’s opinion in this
(the HD Supply) matter that “there is no evidence of a lack of price impact” as an
affirmative opinion based on a complete price-impact analysis. I recognize that Dr.
Hartzmark’s statement about “no evidence of a lack of price impact” is, instead, some
statement by Dr. Hartzmark based on an incomplete analysis of price impact as opposed
to one “based on a complete ‘price impact’ analysis.”
8
    Hartzmark Finisar Rebuttal, ¶3d. (Emphases in original; internal footnote omitted.)




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disclosure, but there is proof of a lack of price impact from that alleged corrective
disclosure.

      14. Finally, it is worth noting that the Hartzmark Report is particularly misleading
when it comes to its discussion of price impact. In the Finisar case, the expert opposing
Dr. Hartzmark apparently believed that Dr. Hartzmark’s reference to price impact
referred to the price impact of the allegedly misrepresented information. However, as the
Hartzmark Finisar Rebuttal points out, in that case, he was referring to “disclosures on
December 1 and 2, 2010” in the relevant section and did not disaggregate the alleged
misrepresentations from other news disclosed in that time period.9 In the instant matter,
however, Dr. Hartzmark refers not to the price impact on certain dates, but refers
specifically to the price impact of “the alleged corrective disclosures”10 and of “the
alleged corrective information disclosed on March 14, 2017 and June 6, 2017.”11 This is
an incorrect and misleading description of what Dr. Hartzmark has in fact analyzed. In
fact, in his deposition, Dr. Hartzmark admitted that he could not recall his analysis, if
any, or his conclusions, if any, regarding whether there was unexpected information
related to the alleged fraud disclosed on June 6, 2017. See, for example, Hartzmark
Depo., 86:18-88:6:12
              Q. Have you attempted to analyze the June
              6 disclosure to see whether there was any
              unexpected information disclosed that was
              unrelated to the alleged fraud?
              MR. SALTZMAN: Objection.
              A. That’s an issue associated with loss
              causation, and I haven’t been asked to opine on
              loss causation.

9
    Hartzmark Finisar Rebuttal, ¶¶7-8.
10
     Hartzmark Report, ¶23. (Emphasis removed.)
11
     Hartzmark Report, ¶103.
12
  See also Hartzmark Depo., 89:7-13, where Dr. Hartzmark admits that he “can’t recall”
whether he “identif[ied] any information disclosed on June 6 that was both unexpected
and unrelated to the alleged fraud[.]”



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               Q. It would be real easy if you just said
               yes, you did or no, you didn’t.
               MR. THORNTON: So could you read him
               the question and see if I can get an answer.
               (Record read.)
               A. The answer stays the same. I wasn’t
               asked to do that because I wasn’t asked to do a
               loss causation analysis.
               Q. I’m not asking you what you were asked
               to do. I’m asking you what you did.
               So did you make any effort to do that
               or did you not? It’s a very simple question.
               Yes, you did or no, you didn’t?
               A. I believe the scope of what I was
               asked to do is clearly delineated in my report.
               Q. That’s not my question, Dr. Hartzmark.
               I’m not asking what your engagement was. I’m
               asking what you did. All you have to do is tell
               me if you made some effort to break out any
               information in the June 6 announcement that was
               unexpected and unrelated to the alleged fraud,
               just tell me, yes, I did, and then I'll ask you
               what you did. If the answer is no, I didn’t,
               then we can move on to the next question.
               A. Well, your question is quite broad.
               Okay? I have looked at a variety of analyst
               reports, for example, okay? I don’t recall
               whether I looked at – it’s likely, but I don’t
               recall whether I looked at June 6. …
      15. In fact, if one wishes to opine, as Dr. Hartzmark has done, that “there is no
evidence of a lack of price impact when one examines the reaction of HD Supply’s
common stock price to the alleged corrective disclosures[,]”13 as well as to “the alleged
corrective information disclosed on March 14, 2017 and June 6, 2017,”14 then
disaggregation is not (just) a loss-causation question, but a price-impact question.
Instead, Dr. Hartzmark opines that there is no evidence of a lack of price impact with

13
     Hartzmark Report, ¶23.
14
     Hartzmark Report, ¶103.




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respect to the alleged corrective information even though he has not examined the price
impact, if any, of the alleged corrective information. Consequently, Dr. Hartzmark
provides an incorrect and misleading opinion.



       V.     THERE WAS NO PRICE IMPACT FROM                            THE     ALLEGED
              CORRECTIVE DISCLOSURE ON JUNE 6, 2017
      16. As the Hartzmark Report has not provided a proper affirmative opinion on price
impact, I begin that analysis here, specifically with regard to the June 6, 2017 disclosure.
On June 6, 2017, HD Supply announced its earnings for the first quarter of 2017 and
provided a discussion of its future, including a discussion of future spending at its
Facilities Maintenance (“FM”) division. While Plaintiffs attempt to tie that discussion of
future spending at Facilities Maintenance to the Complaint’s allegations of prior supply-
chain issues at the Facilities Maintenance division, as discussed below, there was no
change in the expected costs of dealing with the supply-chain recovery. Instead, the new
expected future costs announced for Facilities Maintenance on June 6, 2017
corresponded to other issues unrelated to the allegations. In addition, the disappointing
financial results at FM in 1Q17 were due to issues other than new disclosures regarding
the supply-chain recovery.

         A. There Was No Change in the Expected Cost of Dealing with the FM
            Supply-Chain Issues Disclosed on June 6, 2017

      17. In ¶90, the Hartzmark Report quotes the Complaint as stating that “when analysts
pressed Defendants to give more specifics about the newly announced additional FM
spending during an earnings conference call [on June 6, 2017], Defendants persistently
dodged these questions.”15




15
     Hartzmark Report, ¶90. (Closing footnote citing Complaint ¶86 omitted.)




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      18. However, the newly announced additional FM spending was not related to the
supply-chain recovery that is the basis for the allegations in this matter. In HD Supply’s
March 14, 2017 earnings call, Evan Levitt, HD Supply’s CFO, stated the following:

              Our first-quarter EBITDA guidance includes approximately $10
              million of costs associated with the 2016 Facilities Maintenance
              supply chain recovery including $2 million associated with labor
              we opted to retain through a lower sales volume quarter to be
              prepared for the upcoming selling season, $5 million associated
              with freight expense and $3 million associated with rent expense
              attributed to real estate secured to expand distribution center
              capacity.16

      19. In HD Supply’s June 6, 2017 earnings call, Mr. Levitt stated:

              Facilities Maintenance's adjusted EBITDA for the first quarter of
              2017 was $117 million, down $17 million from the first quarter of
              2016. This performance includes approximately $3 million of
              incremental facility costs, approximately $5 million in incremental
              previously incurred freight costs to expedite product movement
              that was capitalized in the 2016 ending inventory costs and
              approximately $2 million of incremental surge labor to accelerate
              distribution center execution.17

      20. Notably, all of the spending categories, and the associated amounts, related to the
supply-chain recovery announced on June 6, 2017 ($2 million for labor, $3 million for
rent/facilities, and $5 million for freight) were the same as those forecast on March 14,
2017. Thus, the “newly announced additional FM spending” referred to in ¶90 of the
Hartzmark Report, the only information to which the Hartzmark Report attributes the
June 6, 2017 price response of HD Supply’s stock, could not be related to the supply-
chain recovery issues.18 Instead, the FM spending related to the supply-chain recovery

16
     HD Supply 4Q 2016 earnings call transcript. (Emphasis added.)
17
     HD Supply 1Q 2017 earnings call transcript. (Emphasis added.)
18
   When asked whether he could “describe anything that you recall from the analyst
reports that you attribute to the -- that they attributed to the newly announced additional
FM spending[,]” and with the question rephrased as “whether you recall anything else
(continued)



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issues was a confirmation of the previously announced forecast of those costs.19,20 If
there was no change in the expected spending on the FM supply-chain recovery on June
6, 2017, that spending could not be the cause of any price change on that date. (This
position has been noted by the Eleventh Circuit in FindWhat Investor Group v.
FindWhat.com, 658 F.3d 1282, 1310 (11th Cir. 2011). (“A corollary of the efficient
market hypothesis is that disclosure of confirmatory information -- or information already
known by the market -- will not cause a change in the stock price.”) Moreover, as the
amount of that spending was correctly forecast on March 14, 2017, there would be no
artificial inflation in HD Supply’s stock price on or after March 14, 2017, when the truth
regarding that spending was disclosed to the market.21 In other words, the artificial



[other than ‘one sentence [saying] the most troubling development was the new
incremental FM spending’] in the analyst reports that address that,” Dr. Hartzmark
responded, “Not that I recall right now.” (Hartzmark Depo., 93:8-21.)
19
   The Complaint itself recognizes that the $10 million in spending was disclosed on
March 14, 2017 rather than June 6, 2017. See Complaint, ¶78. (“On March 14, 2017, the
Company issued a press release announcing its results for the fourth quarter ….
Although the Company met analyst estimates for Q4 2016 earnings, Defendants surprised
the market by announcing a projected $10 million in additional spending related to the
FM supply chain recovery for Q1 2017.”)
20
   RBC also noted, “HD Supply had guided to roughly $10 million in elevated costs and
came in right at this level: $3 million incremental facility costs, $5 million incremental
freight costs, and $2 million incremental surge labor costs. HD Supply noted that
incremental surge labor costs are done, though there may be $1-$2 million in freight costs
that linger into F2Q17. Although it was previously noted these costs could linger into
F2Q17, we believe the execution on these costs has been disappointing.” (“Skittish
Distributor Investors Spooked by F1Q Miss,” RBC Capital Markets, June 7, 2017.) In
fact, in HD Supply’s March 14, 2017 earnings call, Mr. Levitt noted that it would be the
freight category specifically with costs that could linger, stating that “we will continue to
see some elevated cost roll through margin in the first quarter as a result of what we spent
on freight, expediting freight to get inventory in stock. That will flow itself through. It’s
primarily in the first quarter, a little bit in the second quarter.”
21
   This does not imply that there was necessarily artificial inflation in HD Supply’s stock
price prior to March 14, 2017. Whether that was the case or not will depend on further
analyses and any determination regarding liability in this matter. However, there cannot
(continued)



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inflation (if any existed) in HD Supply’s stock price was removed when the market
responded to the March 14, 2017 news announcement.

        B. The Newly Announced Additional FM Spending Did Not Relate to the
           Supply-Chain Recovery

     21. While ¶90 of the Hartzmark Report correctly notes that there was “newly
announced additional FM spending[,]” that spending was not tied to the supply-chain
recovery, nor did the market tie the additional spending to the supply-chain recovery.

     22. For example, ¶90 of the Hartzmark Report states that a “RBC Capital Markets
report issued on June 7, 2017, stat[ed]: ‘The most troubling development was the new
incremental FM spending that was unexpected and frankly poorly explained on the
call.’”22 The Hartzmark Report fails to include the bolded first sentence in the paragraph
of the RBC Capital Markets Report containing this quote: “New incremental FM
spending stirs worries that HDS could be susceptible to Amazon pressures.”               The
Hartzmark Report also limits its quote to one sentence, ignoring the following
explanatory sentence in the RBC Capital Markets Report: “Investors thought the worst
and linked this spending to the ecommerce pressures that have torpedoed Granger.” Had
the Hartzmark Report put its quote from the RBC Capital Markets analyst report in
context, it would have been clear that the newly announced additional FM spending
related to competitive pressures, not to supply-chain recovery issues.23 When asked
about the sentence following the one he quoted (i.e., when asked about the sentence
“Investors thought the worst and linked this spending to the ecommerce pressures that

be any price inflation related to spending on the FM supply-chain recovery following
March 13, 2017.
22
   Closing footnote in Hartzmark Report: “RBC Capital Markets, Skittish Distributor
Investors Spooked by F1Q Miss, June 7, 2017, p.1.”
23
   The same RBC Capital Markets Report states, “Biggest Surprise: New ongoing
investments in FM are needed to keep pace with the market. HD Supply did not
disclose the exact investments and this is still ‘evolving internally’. It is hard not to link
this spending to the more cutthroat ecommerce competition.” (Emphasis in original.)




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have torpedoed Granger”) and asked, “Do you have any understanding about what that
sentence is referring to[,]” Dr. Hartzmark either would not or could not provide a
meaningful response.24 Keeping in mind that Dr. Hartzmark was able to choose which
analyst report to quote and what material to quote from that report, the fact that the
sentence following the one quoted by the Hartzmark Report ties the new incremental FM
spending to competitive pressures and not to supply-chain recovery issues is indicative of
the lack of evidence tying the new incremental spending to the supply-chain recovery
issues.

     23. The Hartzmark Report also references a Raymond James report in its ¶90.25 In
the third diamond bullet point on the first page of that report, Raymond James states, “In
our view, the stock’s visceral reaction was prompted by a conference call that failed to
effectively placate industry-wide concerns that HDS too could be susceptible to either
Grainger’s recent price cuts and/or Amazon’s ultimate encroachment.” This is very
similar to the statements by RBC Capital Markets that the threat to HD Supply (and, per
RBC Capital Markets, the newly announced additional FM spending) related to increased
competitive activity, such as price cuts by Grainger or encroachment by Amazon.

     24. Paragraph 90 of the Hartzmark Report also references an analyst report by
William Blair.26 This analyst report states on its first page, “Sudden need to invest in
FM web experience viewed negatively by Street. The biggest surprise on the fiscal
first-quarter call was management’s announcement that accelerated growth investments


24
  See Hartzmark Depo., 100:21-105:14, with Dr. Hartzmark testifying, “I didn’t look at
the individual issues[,]” and objections by counsel for Plaintiffs to questions related to
the sentence in the RBC analyst report not quoted in the Hartzmark Report that
immediately follows the sentence in the RBC analyst report that the Hartzmark Report
quoted.
25
  “Visceral Post-1Q Stock Reaction Leaves HDS Shares Below Peer Values,” Raymond
James, June 7, 2017.
26
  “Waterworks Sale Overshadowed by Continued Growth Investment,” William Blair,
June 7, 2017.




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are needed to meet changing customer expectations.”27 As with the other analysts,
William Blair recognized that the newly announced additional FM spending related to the
threat of HD Supply losing customers to competitors, such as ecommerce sites like
Amazon, specifically due to “changing customer expectations[,]” as opposed to concerns
about the supply-chain recovery.

      25. One can also see how HD Supply characterized the newly announced additional
FM       spending    using    a   document    from   Dr.   Hartzmark’s     own    backup:
HARTZMARK0006286, a page from HD Supply’s July 19, 2017 Form 8-K. A boxed
description at the bottom of this page refers to “$10M – 20M Incremental SG&A
Investment on Customer Experience and Extension of Existing Capabilities[.]” Notably,
this incremental investment relates to an “[e]xtension” of existing capabilities, not to
fixing existing capabilities. The “Supply Chain” category of this incremental investment
is one of four sub-bullets under the larger bullet point “Build Out Dynamic Capabilities
to Enable Selling Channels.” That is, the sole reference to supply chain in this list of
investments involves, depending on the characterization, either building out new
capabilities or extending existing capabilities, not fixing the company’s existing
capabilities.

      26. Following this 8-K, RBC released an analyst report on July 19, 2017 titled “HDS
– Reaffirmed Guidance and More Clarity on Strategic Investments Should be a Modest
Positive[.]” RBC tied this spending to the June 6, 2017 announcement, stating, “The key
takeaways are that F2Q17 and F2017 guidance was reaffirmed, and the company
provided significantly more clarity on the strategic investments it announced last quarter,
sizing the spending at $10-$20 million in F2H17 through F2018. The company also
provided a grocery list of 14 different ‘select growth’ buckets where this strategic
spending could be targeted.”28 “[S]elect growth” buckets are, of course, different from


27
     Emphasis in original.
28
     Italicization removed.




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fixing existing supply-chain capabilities. Moreover, not only did the title of this RBC
analyst report (referencing “More Clarity on Strategic Investments”) implicitly tie the
issues of a perceived lack of management credibility following the June 6, 2017
announcement to the new FM spending unrelated to the supply-chain issues, but so did
the text of that RBC analyst report, which stated, “Recall that the company did not have
crisp answers about these strategic investments in last quarter’s conference call (vague on
the dollar amount, areas where it would be spent, and the duration).” On August 29,
2017, in advance of the next quarterly earnings announcement, RBC stated, “We are not
expecting anything close to last quarter’s fireworks when an unexpected increase in
growth spending triggered an unsettling sell-first-and-ask-questions later 17.5% pullback.
On July-19, guidance was reaffirmed and FM growth spending was further clarified[.]”29
Here, RBC explicitly ties the June 6, 2017 FM spending to new growth strategic
initiatives, and blames those initiatives and the lack of “crisp answers” by the company
regarding those initiatives for the stock pullback in June.

     27. In advance of the second-quarter earnings announcement, Morgan Stanley was
even more explicit in distinguishing the supply-chain recovery costs from the new
investments announced on June 6, 2017, stating that the “ramp-down of inventory
fulfillment costs is likely to be offset by incremental growth investments ($3m in 2Q as
per guidance).30 Thus, the analysts confirm that the new growth initiatives at Facilities



29
  “F2Q17 Preview: In-line Results Would Feel Like a Beat,” RBC Capital Markets,
August 29, 2017.
30
  “2Q17 Preview,” Morgan Stanley, September 1, 2017. This analyst report also states
that in 3Q17, “tailwinds from the absence of surge labor and freight costs ($10m) more
than offsetting a step-up in growth investment ($5m MSe [Morgan Stanley estimate] vs.
$10-20m guidance for 2H17 and 2018).” That is, the $10 million in supply-chain
recovery costs in 3Q16 were not expected to be repeated in 3Q17 (a benefit of $10
million), which would more than offset the $5 million in growth investments that Morgan
Stanley assumed would be incurred in 3Q17 out of the $10-$20 million total expected
investments over 2H17 and 2018.




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Maintenance were both distinct from the supply-chain recovery issues and were the cause
of the stock-price decline following the June 6, 2017 announcement.31

          C. Summary of the Analysis of the Newly Announced FM Expenditures on
             June 6, 2017

      28. In the Finisar case, Dr. Hartzmark opined that one should employ “commonly-
used and generally-accepted economic analyses to examine price impact. These analyses
would incorporate the evaluation of news, analyst reports and [company] corporate
filings, among other materials to affirmatively demonstrate whether … [there] is or is not
evidence of a lack of price impact.”32

      29. I have done so here, evaluating the news on that date compared to the earlier news
on March 14, 2017; analyst reports following the June 6, 2017 news; and a relevant
company corporate filing.       These analyses demonstrate that the newly announced
additional FM spending disclosed on June 6, 2017 was unrelated to the FM supply-chain
recovery. On June 6, 2017, HD Supply reaffirmed the exact same FM supply-chain costs
(including the exact same figures for each of the three categories of those costs) that it
had previously disclosed on March 14, 2017. Analyst reports following the June 6, 2017
disclosure demonstrate that the then-newly disclosed additional FM expenditures were
believed to relate to new competitive issues and not to the previous supply-chain issues.
Finally, when HD Supply provided more clarity on the make-up of that spending, the

31
   Paragraph 13 of the Complaint cites a Deutsche Bank report following the June 6, 2017
earnings announcement that noted that the company’s failure to meet its planned profit
trajectory caused issues with management’s credibility. However, the profit miss was
due to the issues unrelated to the allegations in the Complaint (as discussed in §V(D) of
this report), meaning that the credibility issues that arose with the June 6, 2017 earnings
announcement are not attributable to the allegations in the Complaint. The Complaint
even quotes that Deutsche Bank report as stating concern that it was “unclear when the
new elevated spending might subside, and could instead go on for years.” As noted
above, that new elevated spending was for the new growth initiatives unrelated to the
supply-chain recovery, as further clarified by HD Supply in July 2017.
32
     Hartzmark Finisar Rebuttal, ¶3d. (Emphases in original; internal footnote omitted.)




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spending was described and recognized as dealing with new growth opportunities, not as
expenditures related to the previous supply-chain issues.

         D. FM’s EBITDA Miss in 1Q17 Is Explained by Issues Other than the
            Previous Supply-Chain Problems

      30. While the Hartzmark Report lists only the costs related to the supply-chain
recovery as a factor in HD Supply’s stock-price decline following the June 6, 2017 news,
the Complaint speculates that on June 6, 2017, HD Supply “disclosed … that the FM
supply chain was in much worse shape than Defendants had previously acknowledged,
materially impacting the Company’s operating results, including its most important
financial metric. On that day, the Company announced that, for Q1 2017, FM’s Adjusted
EDITDA had deteriorated dramatically from the same period of the prior year—a drop
from $134 million to $117 million, or 13%—the largest decline in HD Supply’s history
as a public company, precisely because of the supply chain issues.”33

      31. Contrary to what the Complaint says, HD Supply did not disclose that the FM
supply chain was “in much worse shape” than previously acknowledged and thus
negatively affected the company’s operating results such as EBITDA. The statement
about the decline in FM EBITDA to $117 million was as follows:34

             Facilities Maintenance's adjusted EBITDA for the first quarter of
             2017 was $117 million, down $17 million from the first quarter of
             2016. This performance includes approximately $3 million of
             incremental facility costs, approximately $5 million in incremental
             previously incurred freight costs to expedite product movement
             that was capitalized in the 2016 ending inventory costs and
             approximately $2 million of incremental surge labor to accelerate
             distribution center execution. This was in line with the guidance
             given on the fourth quarter earnings call.




33
     Complaint, ¶85.
34
     1Q17 earnings call. (Emphasis added.)




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     32. A decline in EBITDA consistent with previously provided guidance should not be
the source of a stock-price decline.35 Beyond the $10 million in expected costs, HD
Supply explained that “this really was a story about vertical mix, product mix and some
other kind of nuances around the business as opposed to anything structural.”36 Again,
the EBITDA decline is attributed solely to issues other than the previous supply-chain
difficulties.



35
   While it could be the cause of a stock-price decline if the previous guidance was
believed to be too conservative (i.e., if the market believed that HD Supply had
overstated expected costs), it is my understanding that truthful and accurate guidance by
defendants could not be a basis for a securities-fraud claim.
36
   The complete answer by Mr. Stengel is as follows: “WILLIAM P. STENGEL: Dave, I
would just add on the gross margin in Facilities Maintenance. We continue to feel very
good about category management and what we’re doing from a controllable execution
standpoint there and seeing very nice results. So this really was a story about vertical
mix, product mix and some other kind of nuances around the business as opposed to
anything structural.” “Vertical mix” refers to different product lines or categories.
Also relevant are comments by Mr. DeAngelo in the 4Q16 earnings call, where Mr.
DeAngelo stated, “We estimate that there was approximately 200 basis points of sales
growth headwind for Facilities Maintenance during the fourth quarter [of 2016]
associated with the legacy supply chain interruption and an additional 200 basis points of
headwinds associated with property improvement slowdown and the industry-wide
government-mandated R-22 phase-out, which is consistent with the commentary and
guidance we previously disclosed in December. We expect this impact to continue in the
first quarter of 2017 before we begin to see a return to market outgrowth for the balance
of the year. Our February performance at Facilities Maintenance was also in line with
our expectations.” Thus, the company disclosed that the impact of headwinds that had
been affecting 4Q16 FM revenues would “continue in the first quarter of 2017” and that
performance in February 2017, the first month of 1Q17, was in line with these negatively
affected expectations. See also “Downgrade to Hold Post 1Q on a Lower Earnings
Forecast,” Drexel Hamilton, June 7, 2017, finding that 1Q17 sales growth was below that
of the maintenance, repair, and overhaul market, as expected from the 4Q16 earnings
call. (“FM reported disappointing quarterly sales and operating margin. Revenue was
$682M, up 0.7% from 1QFY16 and below the MRO end market growth of 1% to 2%. (in
line with the previous view from the 4Q call). We expect revenue growth to return to
3.4% in 2Q, considering preliminary average daily sales growth in May was 5.2%.”)




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      33. With regard to the status of the supply chain, in the 1Q17 earnings call, William
Stengel, Facilities Maintenance President and CEO, stated that the supply-chain issues
“are all legacy issues for us, so we’re very focused on moving forward. All of our
operating metrics are as good or better than they were in the past.” This is not the same
as the Complaint’s characterization of the supply chain being “in much worse shape than
Defendants had previously acknowledged.”

      34. The sole point that the Complaint brings up here is that, purportedly, “during an
exchange with an unidentified analyst, Stengel admitted that the Company’s prior
representations about its supply chain recovery process had been false, and that, contrary
to prior representations, the supply chain’s performance had only improved, at earliest,
by May 2017, as the Company ‘exited’ the first quarter of 2017[.]”37 However, the
earnings call transcript shows that this conversation between Mr. Stengel and analyst
Keith Brian Hughes of SunTrust Robinson Humphrey (not an “unidentified analyst”) is
not as the Complaint describes.

      35. Mr. Stengel did not admit anything about representations of the supply-chain
recovery process being false. The relevant question asked by Mr. Hughes immediately
followed Mr. Stengel’s statement that “[a]ll of our operating metrics are as good or better
than they were in the past.” Following this, Mr. Hughes asked, “Okay. And was that the
case in the first quarter? Did you perform at these levels? Or did you get there kind of
exiting the quarter?” and Mr. Stengel replied, “I would say we got there exiting the
quarter.” That is, the supply-chain metrics were as good or better than in the past as HD
Supply exited the quarter. This does not indicate that the supply-chain metrics were not
overall roughly as good as in the past throughout the quarter. Moreover, even if the
supply-chain metrics were worse than at some point in the past during 1Q17, there is no
indication that any such issues were “materially impacting the Company’s operating
results, including its most important financial metric[,]” as the Complaint speculates.


37
     Complaint, ¶87. (Emphasis in original.)




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      36. In fact, I am not aware of any analyst who attributed FM’s EBITDA decline in
1Q17 to supply-chain problems (though analysts did note the previously disclosed $10
million in supply-chain recovery costs that they were aware of from the March 17, 2017
earnings call). Instead, analysts gave other reasons for the disappointing FM financial
results. For example, Robert W. Baird stated:38

             Management noted 20bp of mix-related gross margin headwinds
             impacted operating leverage this quarter, as growth from lower-
             margin hospitality products outpaced other FM verticals. In
             addition, the majority of the sales shortfall this quarter was
             attributed to the core multi-family portion of the business (~two-
             thirds of segment sales) which was flattish in spite of continued
             favorable macroeconomic trends for multifamily housing, while
             the property improvement (up high single digits) and hospitality
             (up double digits) portions of the business saw relatively higher
             growth rates.

      37. Notably, there is no reference to supply-chain recovery issues in this discussion.
Given that the analyst is describing the reasons for the FM financial results, one would
expect that if he believed that those results were negatively affected by the previous
supply-chain issues, he would have at least mentioned them.39

38
     “Downgrading to Neutral,” Robert W. Baird, June 7, 2017.
39
   Examining and counting references to certain ideas is known as “content analysis.”
Properly implemented, content analysis can be useful in understanding what factors may
have affected the price of a security. Content analysis was endorsed in an opinion by the
First Circuit in the context of a securities fraud case. See Bricklayers & Trowel Trades
Int’l Pension Fund v. Credit Suisse Sec. (USA) LLC, 752 F.3d 82, 96 n.12 (1st Cir. 2014)
(“[Plaintiffs’ expert] could also have used content analysis. See, e.g., David Tabak,
Making Assessments About Materiality Less Subjective Through the Use of Content
Analysis (2007), available at http://www.nera.com/67_5197.htm; Esther Bruegger &
Frederick C. Dunbar, Estimating Financial Fraud Damages with Response Coefficients,
35 J. Corp. L. 11, 25 (2009) (‘“[C]ontent analysis” is now part of the tool kit for
determining which among a number of simultaneous news events had effects on the stock
price.’).”). The failure of analysts to reference the supply-chain difficulties (other than
the previously announced $10 million in costs) as a factor in FM’s disappointing
performance is therefore strong evidence that the market did not attribute any portion of
that disappointing performance to newly disclosed issues with FM’s supply chain.




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      38. Similarly, J.P. Morgan stated that “targeted outgrowth is costing more as
customer expectations are rising. This cut to the core FM business[.]”40 Again, there is
no reference to supply-chain issues. In another report, J.P. Morgan stated, “While supply
chain costs at FM were in line with expectations (-$10mm y/y), management said gross
margin contracted on vertical/product mix headwinds (not price), and sales growth was
not enough to overcome SG&A investments.”41

      39. One analyst who did discuss the decline in margins, and thus EBITDA, due to the
supply-chain issues referenced the already-known $10 million costs discussed in HD
Supply’s March 14, 2017 earnings call.        Drexel Hamilton stated, “The FM margin
decrease was due to ~$3M of incremental facility costs, ~$5M in incremental previously
incurred freight costs to expedite product movement that was capitalized in the 2016
ending inventory costs, and ~$2M of incremental surge labor to accelerate distribution
center execution.”42 These are the same figures discussed earlier in this report. (See ¶¶
17-20.)

      40. Finally, after the company provided additional detail on the new spending
initiatives, RBC stated, “Sizes incremental FM investment spending at $15-$25 million in
total from F2017 through F2018, modestly below fears that spending could creep into the
+$30 million range. HD Supply noted it already spent $2 million in F1Q17 and that it
expects to spend another roughly $3 million in F2Q17.”43 In other words, while the $10
million in expenditures on supply-chain recovery had been anticipated, there were $2
million in expenditures on new initiatives that had not been anticipated and that had an


40
     “1Q Wrap,” J.P. Morgan, June 22, 2017.
41
   “Our Take on Conf Call and Quick Summary of Details – ALERT,” J.P. Morgan, June
6, 2017.
42
   “Downgrade to Hold Post 1Q on a Lower Earnings Forecast,” Drexel Hamilton, June
7, 2017.
43
 “HDS – Reaffirmed Guidance and More Clarity on Strategic Investments Should be a
Modest Positive,” RBC Capital Markets, July 19, 2017. (Emphasis omitted.)




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unexpected negative effect on FM EBITDA.44 I also note that before the earnings call,
RBC speculated that “FM sales were stubbornly subdued around up 1% or less during the
quarter, perhaps due to ongoing supply chain issues[.]”45 However, after the earnings
call, RBC put out a report that did not suggest that supply-chain issues were a cause of
low FM sales but did list four reasons “Why HDS Sales Sold Off on June-6[,]” none of
which included FM sales during 1Q17.46

        E. An Event-Study Analysis Indicates That The Market Perceived the June 6,
           2017 HD Supply News as Negative For Competitors, Contrary to What
           Would Be Expected if HD Supply Disclosed Additional Supply-Chain Issues

     41. In addition to reviewing the Hartzmark Report’s event-study examination of HD
Supply, I performed an event-study examination of the companies that the Hartzmark
Report uses to reflect industry effects.    To do this, I first recreated the Hartzmark
Report’s analysis of the “excess industry return,” or how much the index of the industry
companies moved once one accounts for broader market movements. My results using
the regression period used in the Hartzmark report matched those found in that report. I
also ran the analysis over just the 120 previous trading days, the same procedure that the
Hartzmark Report uses for its event studies of individual events. See Exhibit 3 for these
two sets of results, known as market models.

     42. I then examined the excess industry return on June 6, 2017 and compared it to the
Hartzmark regression period and to the immediately preceding 120 excess industry
returns.   In both cases, the excess industry return on June 6, 2017 is statistically
significant at the standard 5% level. See Exhibit 4 for the two event studies on June 6,

44
   Moreover, another explanation for HD Supply’s stock-price decline after the June 6,
2017 announcement beyond the product-mix shift discussed above would be the expected
future costs of these new initiatives.
45
  “HDS – Misses F1Q by 3c, Sells Waterworks for Reasonable $2.5 bil, to Buy back 6%
of Shares,” RBC Capital Markets, June 6, 2017, 9:40 AM ET.
46
  “Skittish Distributor Investors Spooked by F1Q Miss,” RBC Capital Markets, June 7,
2017.




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2017. Based on these, one may informally expect that there was news that affected the
industry overall.47 This news appears to be a reaction to HD Supply’s June 6, 2017
earnings announcement, with one analyst covering Fastenal (one of the members of the
industry index) stating, “Shares are weak this morning, but this is probably more a
reaction to HD Supply’s (HDS $34.63; Outperform) soft quarter and guidance creating
fears that competition is increasing.”48

     43. If HD Supply’s soft quarter and guidance were perceived as due to supply-chain
issues at HD Supply, that would be good news for competitors, and their stock prices
should increase.    Instead, the analysts’ (and, by extension, the market’s) view that
“competition is increasing” indicates an understanding that the decline in HD Supply’s
stock price was due to competitive effects rather than negative company-specific
performance. In other words, the negative movement in HD Supply’s stock price on June
6, 2017 is not tied to the allegations in this matter, but to fears of increased competition.




47
   An event study does not allow for this type of formal inference. Notably, the
Hartzmark Report repeatedly misinterprets its event-study results, engaging in what is
known as the Prosecutor’s Fallacy or as the “transposition fallacy” when it makes
statements such as that Dr. Hartzmark “can say with 99% confidence that the price
impact on March 14, 2017 from the disclosure on March 14, 2017 was not due to a
random price movement or chance.” (Hartzmark Report, ¶87. See also Hartzmark
Report, ¶92, for a similar misstatement.) See, for example, the Reference Guide on
Statistics in the Reference Guide on Scientific Evidence, published by the Federal Judicial
Center, 2011, pp. 250-251. See also Harvey, Campbell R., “Presidential address: The
scientific outlook in financial economics,” The Journal of Finance 72.4 (2017), p. 1410.
(“It is also incorrect to interpret the test as providing [99%] confidence that the effect
being tested is true.” That is, what the Hartzmark Report does, interpreting its statistical
test as providing a certain degree of confidence that the effect is true as opposed to being
false or due to chance, is incorrect.)
48
  “Fastenal Company[:] May ADS Solid as Demand Continues to Improve; Summary of
Management Conversation,” William Blair, June 6, 2017. The statement that Fastenal’s
price movement was “more a reaction to HD Supply’s … soft quarter” reflects that
Fastenal also released May sales data on June 6.



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         F. Summary

      44. To summarize, at best, the Complaint focuses on one comment by Facilities
Maintenance’s CEO and President stating that FM achieved supply-chain metrics as good
as or better than those previously achieved as it exited the quarter. This does not mean
that the supply chain did not supply metrics that indicated a full recovery on average
throughout the quarter. Moreover, even if the supply chain had not fully recovered, that
would not necessarily mean that any supply-chain recovery issues negatively affected
FM’s financial results.     Notably, while the Complaint attempts to blame alleged
undisclosed supply-chain issues for FM’s low EBITDA in 1Q17, a review of analyst
reports rejects that speculation. Analysts blamed either previous accurately forecast
supply-chain costs or factors unrelated to the supply-chain issues for the FM EBITDA
results. This is consistent with analysts finding that the June 6, 2017 HD Supply news
reflected negative information for competitors, the opposite of what would be expected if
HD Supply disclosed additional or ongoing problems with its supply chain.



       VI.    CONCLUSION
      45. The Hartzmark Report’s conclusion that there is “no evidence of a lack of price
impact when one examines the reaction of HD Supply’s common stock price to the
alleged corrective disclosures”49 is unsupported, speculative, and misleading because Dr.
Hartzmark never actually examines the corrective disclosures but merely examines all the
information, whether corrective or not, disclosed on those dates. Notably, Dr. Hartzmark
has opined recently in another matter that without examining the corrective portion (if
any) of a disclosure, one cannot opine on whether there is evidence of a lack of price
impact from a corrective disclosure.

      46. An examination of the June 6, 2017 disclosure shows that there was, in fact, no
corrective component to that disclosure. The costs associated with the supply-chain

49
     Hartzmark Report, ¶23. Emphasis omitted.



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recovery that were mentioned by HD Supply on that date were previously disclosed, both
in aggregate and for each of the three constituent parts, on March 14, 201 7. Thus, there
was no newly announced additional spending related to the supply-chain recovery
disclosed on June 6, 2017 and no reLated corrective disclosure. Instead, the FM-related
expenditures disclosed on June 6, 2017 were for new initiatives to expand FM’s selling
capabilities. Furthermore, the negative FM financial results disclosed on June 6, 2017
were due to the previously disclosed expenditures and to changes in product mix, not due
to newly disclosed supply-chain recovery issues.

   47. As there was no corrective information disclosed on June 6, 2017, there was no
price impact due to the allegations on that date. This implies that any artificial price
inflation in I-ID Supply’s stock would have ended no later than March 13, 2017,
immediately preceding the other alleged corrective disclosure date. With no artificial
inflation after that point, to the extent that a class should be certified in this matter, it
should be limited to the period November 9, 2016 through March 13, 2017, inclusive.




         I reserve the right to modify or extend my opinion in light of any new
information, including submissions by any experts for Plaintiffs, that becomes available
to me.



                                                                 David I. Tabak
                                                                  June 17, 2019




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                                                                     David I. Tabak
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                                      EXHIBIT 1
                                    DAVID I. TABAK
                                  MANAGING DIRECTOR

Dr. Tabak earned his Ph.D. and M.A. degrees in Economics from Harvard University and his
B.S. in Economics and B.S. in Physics from the Massachusetts Institute of Technology. While at
Harvard, Dr. Tabak participated in teaching courses in micro- and macroeconomics and
American economic policy at the undergraduate and graduate levels and in the creation of an
undergraduate textbook and accompanying software package.

Dr. Tabak has appeared as an expert in state, federal, Delaware Chancery, and bankruptcy courts,
and before arbitration panels, including the National Association of Securities Dealers, the
American Arbitration Association, the International Dispute Resolution Centre, and the
International Chamber of Commerce International Court of Arbitration. He has published in his
areas of expertise in forums such as St. John’s Law Review and Shannon Pratt’s Business
Valuation Update, and has published peer-reviewed articles in Litigation Economics Review and
the Journal of Forensic Economics. Dr. Tabak is also the author of book chapters and has served
as a member of BV Q&A Update’s expert author panel and as a referee for peer-reviewed
journals. His publications have covered topics such as commercial disputes, economic analysis
of market efficiency, valuation discounts for lack of marketability, and the application of
statistics in litigation analyses. Dr. Tabak has been an invited presenter at the Securities and
Exchange Commission and has spoken at forums that provide continuing legal education credits
or continuing professional education credits for accountants and valuation professionals.

Dr. Tabak has been retained as an expert to address issues including allegations of valuations,
contract disputes, commercial damages, and disputes between brokers and customers. His non-
litigation work has included developing a risk-scoring model for a reinsurance company,
assisting financial institutions in new product development, analysis of potential insider trading
for a financial institution, and interpretation of statistical analyses of treatment effectiveness for a
program for at-risk youth.
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                                                                                     David I. Tabak


Education
                 Harvard University
                 Ph.D., Economics, 1996
                 M.A., Economics, 1992

                 Massachusetts Institute of Technology
                 B.S., Economics, 1990
                 B.S., Physics, 1990


Professional Experience
                 NERA Economic Consulting
2005-            Managing Director (f/k/a Senior Vice President)
                 Provide written and oral testimony. Conduct and supervise economic analyses,
                 with a focus on securities litigation and valuation cases.
2001-2005        Vice President
1998-2001        Senior Consultant
1996-1998        Senior Analyst

                 Harvard University
1991-1996        Teaching Fellow in Economics
                 Participated in teaching various courses from introductory principles of
                 economics to graduate macroeconomics. Ran coursewide tutorial program for the
                 largest class at Harvard for two academic years, with a staff of over fifty part-time
                 employees.

                 Worth Publishers
1991, 1993       Research Assistant/Independent Contractor
                 Worked on data collection, software analysis, and creation of a problem bank for
                 an educational economics software package.

                 National Bureau of Economic Research
1991             Research Assistant
                 Performed data collection and econometric analysis for a project on comparisons
                 of international growth rates.


Honors and Professional Activities
        Member, American Economic Association, 1993-present

        Referee, Journal of Forensic Economics, 2005, 2006, 2008, 2009, 2011, 2012, 2015




NERA Economic Consulting                                                                             2
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                                                                               David I. Tabak


      Referee, Litigation Economics Review, 2002, 2003, 2004

      William M. Mercer Securities Corporation, Registered Representative, Series 7 and 63,
      2000 - 2002

      Marsh & McLennan Securities Corporation, Registered Representative, Series 7 and 63,
      1998 - 2000

      Adjunct Member, Committee on International Trade, Association of the Bar of the City of
      New York, 1998 – 2001

      Harvard University Scholarship, 1990-1992

      Derek Bok Teaching Award, 1993, 1994, 1995, and 1996

      Allyn Young Teaching Award, 1996




NERA Economic Consulting                                                                        3
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                                                                                   David I. Tabak


Expert Reports and Testimony
Expert Affidavit of David I. Tabak before the United States District Court for the Northern
District of Illinois in George Hedick Jr. v. The Kraft Heinz Company, et al. and in Iron Workers
District Council (Philadelphia and vicinity) Retirement and Pension Plan v. The Kraft Heinz
Company, et al., May 15, 2019.

Rebuttal Expert Report of David I. Tabak before the United States District Court for the Central
District of California in Trevor Mild v. PPG Industries et al., April 8, 2019.

Deposition before the United States District Court for the Southern District of New York in In re
Alibaba Group Holding Limited Securities Litigation, March 29, 2019.

Deposition before the United States District Court for the Central District of California in Trevor
Mild v. PPG Industries et al., March 27, 2019.

Deposition before the United States District Court for the District of Puerto Rico in The
Financial Oversight and Management Board for Puerto Rico as representative of The
Commonwealth of Puerto Rico et al., March 20, 2019.

Expert Report of David I. Tabak before the United States District Court for the Central District
of California in Trevor Mild v. PPG Industries et al., March 8, 2019.

Rebuttal Expert Report of David I. Tabak before the United States District Court for the
Southern District of New York in In re Alibaba Group Holding Limited Securities Litigation,
March 7, 2019.

Expert Declaration of David I. Tabak before the United States District Court for the District of
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                                  HD Supply Holdings, Inc.
                                   Materials Considered

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                                                             Exhibit 3
                                                    HD Supply Holdings, Inc.
                               Statistical Model of Daily Percent Returns of the S&P 500 Trading
                                  Companies & Distributors Sub Industry Total Return Index
                        Using Estimation Periods from the Expert Report of Michael L. Hartzmark, Ph.D.


                                                                  Coefficient for
                                                                   the S&P 500
                                                                  Total Return                                              Adjusted R-      Standard
                                                              1
                     Period                       Constant            Index2           Observations       R-Squared
                                                                                                                      3
                                                                                                                             Squared
                                                                                                                                     4
                                                                                                                                              Error
                                                                                                                                                    5

                       (1)                           (2)                (3)                (4)                (5)               (6)             (7)

      A. May 19, 2016 to June 6, 20176               (0.00)               1.44                  264          37.98%            37.74%          0.01
                                                     (1.40)              12.67

                                             7
      B. December 12, 2016 to June 5, 2017           (0.00)                1.58                 120          30.01%            29.42%          0.01
                                                     (2.25)                7.11

Notes and Sources:
Data obtained from Bloomberg L.P. Estimation periods obtained from the Expert Report of Michael L. Hartzmark, Ph.D., dated March 1, 2019.
t-statistics are shown in italics. Statistically significant coefficients (at the 5% level) are shown in bold.
1
    The constant is the expected value of the dependent variable (S&P 500 Trading Companies & Distributors Sub Industry Total Return Index
    percent returns) if the independent variable (S&P 500 Total Return Index percent returns) equals 0.
2
    This coefficient measures the change in the dependent variable (S&P 500 Trading Companies & Distributors Sub Industry Total Return Index
    percent returns) associated with a one unit change in the independent variable (S&P 500 Total Return Index percent returns).
3
    R-squared is the percent of the variance in the dependent variable (S&P 500 Trading Companies & Distributors Sub Industry Total Return Index
    percent returns) that is explained by the variance of the independent variable (S&P 500 Total Return Index percent returns).
4
    Adjusted R-squared is the percent of the variance in the dependent variable (S&P 500 Trading Companies & Distributors Sub Industry Total
    Return Index percent returns) that is explained by the variance of the independent variable (S&P 500 Total Return Index percent returns),
    adjusted for the number of predictors in the market model.
5
    Denotes the standard error of the regression model, which is a statistical measure of the variability of predictions made with the regression
    model.
6
    Market model regression is run over the period May 19, 2016 to June 6, 2017. This period represents the same period used to calculate the
    excess industry returns in Appendix D of the Hartzmark report (see note [6]).
7
    Market model regression is run over the period December 12, 2016 to June 5, 2017. This period represents the same 120 trading day period
    used to calculate the HD Supply excess returns in Appendix D of the Hartzmark report (see notes [7] through [9]).
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                                            Exhibit 4
                                   HD Supply Holdings, Inc.
           Summary of Excess Returns for the S&P 500 Trading Companies & Distributors
                                                                1
                                Sub Industry Total Return Index
                                           June 6, 2017


                                                    Actual        Predicted         Excess
       Market Model Regression Period               Return         Return1         Return        t-statistic2     P-Value3
                    (1)                                (2)           (3)              (4)            (5)             (6)
                                                                                   (2) - (3)

      A. May 19, 2016 to June 6, 2017 4              (2.91) %        (0.50) %       (2.42) %        (2.18)            0.03

      B. December 12, 2016 to June 5, 2017 5         (2.91) %        (0.66) %       (2.25) %        (2.11)            0.04

Notes and Sources:
Data obtained from Bloomberg L.P. Estimation periods obtained from the Expert Report of Michael L. Hartzmark, Ph.D.,
dated March 1, 2019.
1
    Predicted returns are calculated using a market model regression of the percent returns of the S&P 500 Trading
    Companies & Distributors Sub Industry Total Return Index on the percent returns of the S&P 500 Total Return
    Index. The regression was run over two different time periods. See Exhibit 3 for more information.
2
    Excess return t-statistics are calculated as the daily excess return divided by the standard error of the regression over
    the estimation period.
3
    The p-value represents the probability of measuring a test statistic as or more extreme than the calculated test statistic
    assuming that the null hypothesis is true.
4
    Market model regression is run over the period May 19, 2016 to June 6, 2017. This period represents the same period
    used to calculate the excess industry returns in Appendix D of the Hartzmark report (see note [6]).
5
    Market model regression is run over the period December 12, 2016 to June 5, 2017. This period represents the same 120
    trading day period used to calculate the HD Supply excess returns in Appendix D of the Hartzmark report (see notes
    [7] through [9]).
